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1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    NED SMOCK, Bar # 236238
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    SCOTT M. GELSOMINO
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )     No. CR-S-06-297 EJG
11                                   )
                    Plaintiff,       )
12                                   )     STIPULATION AND ORDER
          v.                         )
13                                   )
     SCOTT M. GELSOMINO, and         )     Date: December 1, 2006
14   ZACKARY J. MEDINAS              )     Time: 10:00 A.M.
                                     )
15                                   )     Judge: Hon. Edward J. Garcia
                    Defendants.      )
16   _______________________________ )
17
          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, E. ROBERT WRIGHT, Assistant United States
19
     Attorney, attorney for Plaintiff, NED SMOCK, Assistant Federal
20
     Defender, attorney for Scott M. Gelsomino, and MICHAEL BIGELOW,
21
     attorney for defendant Zackary J. Medinas, that the October 27, 2006
22
     status conference be vacated and a new date be set for status
23
     conference on December 1, 2006.      The defense is reviewing discovery and
24
     performing necessary investigation and legal research on a number of
25
     issues.
26
          It is stipulated and agreed between the parties that the period
27
     beginning October 27, 2006 to December 1, 2006 should be excluded in
28
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1    computing the time within which the trial of the above criminal
2    prosecution must commence for purposes of the Speedy Trial Act for
3    defense preparation.     All parties stipulate and agree that this is an
4    appropriate exclusion of time within the meaning of Title 18, United
5    States Code, Section 3161(h)(8)(iv) (Local Code T4).
6    Dated: October 26, 2006
7                                           Respectfully submitted,
8                                           DANIEL BRODERICK
                                            Federal Defender
9
10                                          /s/ Ned Smock
                                            NED SMOCK
11                                          Assistant Federal Defender
                                            Attorney for Defendant
12                                          SCOTT GELSOMINO
13                                          /s/ Michael Bigelow
                                            MICHAEL BIGELOW
14                                          Attorney for Defendant
                                            ZACKARY J. MEDINAS
15
16                                          MCGREGOR W. SCOTT
                                            United States Attorney
17
18                                          /s/E. Robert Wright
                                            E. ROBERT WRIGHT
19                                          Assistant U.S. Attorney
20
21
                                      **********
22
                                          ORDER
23
          IT IS SO ORDERED.
24
     DATED:__October 26, 2006______________
25
                                            /s/ Edward J. Garcia
26   ___________________________
                                            HONORABLE EDWARD J. GARCIA
27                                          District Court Judge
28


                                           2
